Case 1:03-md-01570-GBD-SN Document 2016

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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IN RE: TERRORIST ATTACKS ON
SEPTEMBER 11, 2001 03 MDL 1570 (GBD)
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This document relates to:
03 CV 6978 (GBD)
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GEORGE E B. DANIELS, District Judge:
Defendant Jamal Barzinji’s motions,’ for a stay of the proceedings and for an in camera

review of an unredacted version of his motion papers, are denied.

Dated: New York, New York
July 27, 2007

SO ORDERED:

C)GEQRGE B. DANIELS
Ee States District Judge

1 Defendant’s motions are reflected on the docket sheet as documents 1895 and 1897.
